                      BEFORE THE UNITED STATES JUDICIAL PANEL
                           ON MULTIDISTRICT LITIGATION


IN RE: HOTEL BOOKING ACCESS FOR                          MDL DOCKET NUMBER: 2978
       INDIVIDUALS WITH DISABILITIES

                            SCHEDULE OF RELATED ACTIONS

     Plaintiffs       Defendants             District       Case No.        Judge
1    Deborah Laufer   The William E. Swigart Middle         1:20-cv-01960   John E. Jones
                      Jr. Automobile         Pennsylvania                   III
                      Museum
2    Saim Sarwar      CAC 80 LLC             Eastern        2:20-cv-01627   JP
                                             Wisconsin                      Stadtmueller
3    Saim Sarwar      River Road Motel LLC Western          3:20-cv-00986   James D.
                                           Wisconsin                        Peterson
4    Deborah Laufer   Geissler LLC           Western        3:20-cv-00985   William M.
                                             Wisconsin                      Conley

5    Saim Sarwar      Simtat LLC             Maryland       1:20-cv-03129   Stephanie A.
                                                                            Gallagher
6    Saim Sarwar      Northeast Investment   Maryland       8:20-cv-03128   George Jarrod
                      Group LLC                                             Hazel
7    Deborah Laufer   Jalaram Kripa LLC      Connecticut    3:20-cv-01614   Victor A.
                                                                            Bolden
8    Deborah Laufer   Josand Enterprises LLC Colorado       1:20-cv-03193   N. Reid
                                                                            Neureiter
9    Deborah Lauferr J & Z Properties LLC    Colorado       1:20-cv-03188   N. Reid
                                                                            Neureiter
10   Deborah Laufer   Tower Road Lodging     Colorado       1:20-cv-03186   Nina Y Wang
                      LLC
11   Saim Sarwar      A&C Realty LLC         Connecticut    3:20-cv-01649   Robert N.
                                                                            Chatigny
12   Saim Sarwar      219 Woodmont Road      Connecticut    3:20-cv-01650   Vanessa L.
                      LLC and Mayflower                                     Bryant
                      Motel Inc.
13   Saim Sarwar      Saybrook Point Marina Connecticut     3:20-cv-01672   Charles S.
                      LLC                                                   Haight Jr
14   Saim Sarwar      Jackson Incorporated   Connecticut    3:20-cv-01673   Jeffrey A.
                                                                             Meyer
15   Saim Sarwar      Harrington Hotel         District of   1:20-cv-03233   Trevor N.
                      Company Inc.             Columbia                      McFadden
16   Saim Sarwar      Hay Adams Holdings       District of   1:20-cv-03234   Ketanji Brown
                      LLC                      Columbia                      Jackson
17   Saim Sarwar      N & N Hospitality        Massachusetts 3:20-cv-11975   Mark G.
                                                                             Mastroianni
18   Saim Sarwar      Surfside Inn Realty      Massachusetts 1:20-cv-11974   George A.
                      Trust                                                  O’Toole Jr.
19   Saim Sarwar      Prudential Real Estate   New Jersey    3:20-cv-15760   Michael A.
                      MGMT LLC                                               Shipp
20   Saim Sarwar      Kartik Hospitality LLC New Jersey      2:20-cv-15680   Madeline Cox
                                                                             Arleo
21   Saim Sarwar      Abdiel Investor LLC      New Jersey    1:20-cv-15681   Robert B.
                                                                             Kugler
22   Saim Sarwar      L.S.K. Inc.              New Jersey    3:20-cv-15683   Anne E.
                                                                             Thompson
23   Saim Sarwar      Neelkanth Enterprises    New Jersey    1:20-cv-15685   Joseph H.
                      LLC                                                    Rodriguez
24   Saim Sarwar      Lake Placid Hotel        Northern New 8:20-cv-01387    Thomas J.
                      Partners LLC             York                          McAvoy
25   Saim Sarwar      Qiao Lin                 Northern New 7:20-cv-09443    Nelson Stephen
                                               York                          Roman
26   Saim Sarwar      Vilinuis Inc.            Southern New 1:20-cv-09447    Kevin
                                               York                          Nathaniel Fox
27   Saim Sarwar      Sai Ram Group LLC        Southern New 7:20-cv-09430
                                               York
28   Saim Sarwar      Shastri Narayan Inc.     New Jersey    1:20-cv-15724   Noel Hillman
29   Saim Sarwar      208 WHP LLC              New Jersey    1:20-cv-15762   Renee Marie
                                                                             Bumb
30   Saim Sarwar      Sonia Hospitality        New Jersey    1:20-cv-15806   Joseph H.
                      Corporation                                            Rodriguez
31   Saim Sarwar      AK Motel Management Northern Ohio 5:20-cv-02558        John R. Adams
                      LLC
32   Deborah Laufer   Skyhigh Hospitality      Colorado      1:20-cv-03284   Kathleen M.
                      LLC                                                    Tafoya
33   Deborah Laufer   Karos Properties         Colorado      1:20-cv-03426   Danied D.
                                                                             Domenico
34   Deborah Laufer   Pagosa Lodging 2 LLC Colorado          1:20-cv-03429   Philip A.
                                                                             Brimmer
35   Deborah Laufer   268 Solomon Drive       Colorado       1:20-cv-03432       Nina Y. Wang
36   Deborah Laufer   Varai Mata LLC          Middle         1:20-cv-00227       Leslie Abrams
                                              Georgia                            Gardner

37   Deborah Laufer   Shree Varah 2016 LLC Middle            1:20-cv-00228       Leslie Abrams
                                           Georgia                               Gardner
38   Deborah Laufer   Jagtap Hospitality LLC Middle          3:20-cv-00121       C Ashley Royal
                                             Georgia
39   Deborah Laufer   Om Shri KPA             Middle         5:20-cv-00430       Tilman E. Self
                      Hospitality LLC         Georgia                            III
40   Deborah Laufer   Matru Krupa LLC         Northern       4:20-cv-00257       Eleanor L. Ross
                                              Georgia
41   Deborah Laufer   Pramukh Bhavan Inc.     Northern       1:20-cv-04586       William M.
                                              Georgia                            Ray II
42   Deborah Laufer   ESA P Portfolio LLC     Northern       1:20-cv-4605        Amy Totenberg
                                              Georgia
43   Deborah Laufer   LUV Inc.                Northern       1:20-cv-4604        Thomas W.
                                              Georgia                            Thrash Jr.
44   Deborah Laufer   Five Brothers LLC       Southern       4:20-cv-00279       William T.
                                              Georgia                            Moore Jr.
45   Deborah Laufer   Golden Parkway          Southern       6:20-cv-00107       J. Randall Hall
                      Ventures LLC            Georgia
46   Deborah Laufer   Triple M. Hotels Inc.   Southern       1:20-cv-00158       J. Randall Hall
                                              Georgia
47   Deborah Laufer   Pankti Inc.             Southern       6:20-cv-00109       J. Randall Hall
                                              Georgia
48   Deborah Laufer   Ghanu Inc.              Central        2:20-cv-02308       Colin Stirling
                                              Illinois                           Bruce
49   Deborah Laufer   ESA P Portfolio LLC     Northern       1:20-cv-04594       Manish S. Shah
                                              Illinois
50   Deborah Laufer   Morris Hotel Firm Inc. Northern        1:20-cv-6521        Robert W.
                                             Illinois                            Gettleman


                                                 Respectfully submitted,

                                                 HOTELS AND STUFF INC.

                                                 /s/ J. Allen Roth, Esq.______________
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Attorney for Defendant Hotels and Stuff
